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June 7, 2022

BY E.C.F.

Hon. Edward R. Korman
United States District Court Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11226

        Re: United States v. Carlos Martinez, Docket No. 17 Cr. 281 (ERK)

Dear Judge Korman:

         During defendant Carlos Martinez’s sentencing proceeding in the above-referenced matter,
which took place on April 13, 2022, defense counsel made an oral application for in forma pauperis status,
for the defendant, Carlos Martinez, to be able to file a notice of appeal without paying the filing fee,
which was granted by this court, on the record. However, since there is no docket entry of such order,
the case manager from the Second Circuit Court of Appeals has directed counsel to request that the
district court issue a text order on the district court docket sheet.

        Therefore, this letter is respectfully submitted to request that this court issue a text order
confirming that the court had previously granted in forma pauperis status to the defendant, Carlos
Martinez, on the record, for the limited purpose of waiving the requirement of paying the notice of
appeal filing fee.

                                                 Respectfully submitted,



                                                 Anthony L. Ricco, Esq.

ALR/jh
